Case 1:21-cv-03264-CRC Document 1-14 Filed 12/13/21 Page 1 of 2
CIVIL COVER SHEET

SS-44 (Rev. 11/2020 DC)

I. (a) PLAINTIFFS

GRASSROOTS ANALYTICS LLC

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF Wash DC
(EXCEPT IN U.S. PLAINTIFF CASES)

DEFENDANTS

KATE BARTON, TALL POPPY LLC and

EDEN MCKISSICK-HAWLEY

COUNTY OF RESIDENCEOF FIRSTLISTED DEFENDANT. WASH DX

(IN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

dan@wardberry.com

(c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)
Daniel S. Ward, Ward & Berry, PLLC, 1751 Pinnacle Drive,
Suite 900, Tysons, VA 22102; 202-331-8160;

ATTORNEYS (IF KNOWN)

II. BASIS OF JURISDICTION
(PLACE AN x IN ONEBOX ONLY)

O 1 U.S. Govemment
Plaintiff

O 2 U.S. Government
Defendant

© 3 Federal Question

O 4 Diversity

It, CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR

PLAINTIFF ANDONE BOX FOR DEFENDANT) FOR DIVERSITY CASESONLY!
PTF OFT PTF DFT
(U.S. Govemment Not a Party) | Citizen of this State Oo ] Oo 1 Incorporated or Principal Place oO 4 O 4
of Business in This State
Indica. Citizenship of Citizen of Another State G2 ©2 Incomporatedand PrincipalPlace OS O35
oo Wale mt peo of Business in Another State
rtres in item HIT) Citizen orSubjectofa O3 ©O3
Foreign Country Foreign Nation Oo 6 Oo 6

IV. CASE ASSIGNMENT AND NATURE OF SUIT

(Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)

© A. Antitrust

(J 410 Antitrust

O B. Personal Injury/
Malpractice

(—) 310 Airplane
(1 315 Airplane Product Liability

360 Other Personal Injury
(] 362 Medical Malpractice
C_] 365 Product Liability
CI 367 Health Care/Pharmaccutical
Personal Injury Product Liability
(] 368 Asbestos Product Liability

O C. Administrative Agency

Review

(J 151 Medicare Act

{1} 320 Assault, Libel & Slander Sacial Security
[J 330 Federal Employers Liability C_] 861 HA (13951
(1340 Marine (_] 862 Black Lung (923)
[_] 345 Marine Product Liability L_] 863 prwcrpiww (405@@)
[—] 350 Motor Vehicle co 864SSID Title XVI
. sae 865 RSI (405(g))
[_] 355 Motor Vehicle Product Liability

OC) 89} Agricultural Acts
[[] 893 Environmental Matters
CI 890 Other Statutory Actions (if

Administrative Agency is
Involved)

© D. Temporary Restraining
Order/Preliminary
Injunction

Any nature of suit from any category
may be selected for this category of
case assignment.

*(If Antitrust, then A governs)*

(1) 245 Tort Product Liabitity
(J 290 Ant Other Real Property

Esrsonal Property

(1370 Other Fraud

(71371 Truth in Lending

(1380 Other Personal Property
Damage

(-J38s5 Property Damage
Product Liability

cot §35 Death Penalty

§40 Mandamus & Other
§50 Civil Rights
Cc] §55 Prison Conditions
$60 Civil Detainee - Conditions
of Confinement

820 Copyrights

CI 830 Patent
CI 835 Patent - Abbreviated New
Drug Application
CJ 840 Trademark
880 Defend Trade Secrets Act of
2016 (DTSA)

Eorfeiture/Penalty

[] 625 Drug Related Seizure of
Property 21 USC 881

[1 690 Other

Other Statutes

{__]375 False Claims Act

[__] 376 Qui Tam G1 USC
3729(a))

(J 400 State Reapportionment

(J 430 Banks & Banking

(] 450 Commerce/ICC Rates/etc

[_] 460 Deportation

(__] 462 Naturalization
Application

O E. General Civil (Other) OR © F. ProSe General Civil

Real Property Bankruptcy Federal Tax Suits

CJ 210 Land Condemnation Cl 422 Appeal 27 USC 158 CI 870 Taxes (US plaintiff or Cl 465 Other Immigration Actions

[] 220 Foreclosure [[) 423 Withdrawal 28 USC 187 defendant) (__] 470 Racketeer tafuenced

[__] 230 Rent, Lease & Ejectment [J 871 IRS-Third Party 26 USC & Corrupt Organization
240 Torts to Land 7609

CJ 480 Consumer Credit

[48s Telephone Consumer
Protection Act (TCPA)

[] 490 Cable/Satellite TV

[] 850 Securities‘Commodities/
Exchange

Cc] 896 Arbitration

[_] 899 Administrative Procedure
ActReview or Appeal of
Agency Decision

[J] 950 Constitutionality of State
Statutes

[) 890 Other Statutory Actions
(if not administrative agency
review or Privacy Act)

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O G. Habeas Corpus/
2255

([) 530 Habeas Corpus — General

oO 510 Motion/Vacate Sentence

[1] 463 Habeas Corpus - Alien
Detainee

© H. Employment
Discrimination

(1) 442 Civil Rights — Employment
(criteria: race, gender/sex,
national origin,
discrimination, disability, age,
religion, retaliation)

“(If pro se, select this deck)*

O I. FOIA/Privacy Act

CI 895 Freedom of Information Act
Cc) 890 Other Statutory Actions
(if Privacy Act)

*(If pro se, select this deck)*

O J. Student Loan

Cl 152 Recovery of Defaulted
Student Loan
(excluding veterans)

O K. Labor/ERISA
(non-employment

(] 710 Fair Labor Standards Act
(1) 720 Labor/Mgmt. Relations

© L. Other Civil Rights
(non-employment)

[J441 Voting (if not Voting Rights
Act)

O M. Contract

CC) 110 Insurance
Cc 120 Marine
[_] 130 Milter Act

O N. Three-Judge
Court

(_] 441 Civil Rights - Voting
(if Voting Rights Act)

EC] 740 Labor Railway Act (443 Housing/Accommodations 140 Negotiable Instrument
CI 751 Family and Medical [J440 Other Civil Rights 150 Recovery of Overpayment
Leave Act (445 Americans w/Disabilities - & Enforcement of
C] 790 Other Labor Litigation Employment Judgment
(] 791 Empl. Ret. Inc. Security Act []446 Americans w/Disabilities ~ (J 153 Recovery of Overpayment
Other of Veteran's Benefits
(448 Education (-] 160 Stockholder’s Suits

CI 190 Other Contracts
(J 195 Contract Product Liability

[__] 196 Franchise
V. ORIGIN
© 1 Original) O2Removed © 3Remanded © 4Reinstated O STransferred © 6 Multi-district © 7 Appeal to O 8 Multi-district
Proceeding from State from Appellate or Reopened from another Litigation District Judge Litigation -
Court Court district (specify) from Mag. Direct File
Judge

VI. CAUSE OF ACTION (CITE THE U.S, CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
Computer Fraud and Abuse Act, 18 U.S.C. §1030; misappropriate of trade secrets under Defend Trade Secrets Act 18

VII. REQUESTED IN CHECK IF THIS IS A CLASS DEMAND § 79,000 Plus Check YES only if demanded in complaint
COMPLAINT ACTION UNDER F.R.CP. 23 JURY DEMAND: yes[__] No
VII. RELATED CASE(S) (See instruction) YES [ NO fyes, please complete related case form
IF ANY : L\ aA
7
DATE: 123/21 SIGNATURE OF ATTORNEY OF RECORD Z —/ \ L \
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INSFRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
Authority for Civil Cover Sheet

The JS-44 civil cover sheet and the information contained herein neither replaces nor supplementsthe filings and services of pleadings or other papersas required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently,a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below aretips for completing the civil coversheet. These tips coincide with the Roman Numerals on the cover sheet.

L COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiffis outside the United States.

Hi. CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed gnly if diversity of citizenship was selected as the Basis of Jurisdiction
under Section II.

Iv. CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of'a judge to your case will depend on the category you select that best

represents the primary cause of action found in your complaint. You may select only onecategory. You mustalso select one corresponding
nature of suit found under the category of the case.

Vi CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

VI. RELATED CASE(S), IF ANY: [fyou indicated that there is a related case, you must complete a related case form, which may be obtained from

the Clerk's Office.

Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
